Case 3:16-md-02738-MAS-RLS Document 28908 Filed 01/11/24 Page 1 of 2 PagelD: 169782

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

MDL No. 16-2738 (MAS) (RLS)
IN RE: JOHNSON & JOHNSON
TALCUM POWDER PRODUCTS
MARKETING, SALES PRACTICES, AND
PRODUCTS LIABILITY LITIGATION

CASE MANAGEMENT ORDER NO. 14

(Setting a Case Management Conference)

THIS MATTER having come before the Court for a telephone status conference on
January 10, 2024; and for good cause shown,

IT IS on this 11th day of January 2024, hereby

ORDERED that a Case Management Conference will be held before the undersigned on

February 7, 2024, at 10:00 a.m. at the Clarkson S. Fisher Building & U.S. Courthouse, 402 East

State Street, Trenton, New Jersey, Courtroom 7W; and it is further

ORDERED that the parties shall meet and confer regarding the agenda for the next Case
Management Conference and shall jointly submit a proposed agenda to the Court by no later than
three (3) business days before the Conference; and it is further

ORDERED thai the parties shall meet and confer as to the impact on Short Form
Complaints in this Matter of the Special Master’s Opinion and Order on Plaintiffs’ Renewed

Motion for Leave to File a Second Amended Master Long Form Complaint, (Dkt. No, 26636), and

Case 3:16-md-02738-MAS-RLS Document 28908 Filed 01/11/24 Page 2 of 2 PagelD: 169783

discuss with the Court at the Case Management Conference prior to the filing of any formal motion

practice as to such issues.

SO ORDERED. C L

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RUKYISANAH L. SINGH
UNITED STATES MAGISTRATE JUDGE

